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 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9          FOR THE EASTERN DISTRICT OF CALIFORNIA – SACRAMENTO DIVISION

10   KARRA CROWLEY, CHRISTOPHER             )                CASE NO.
     CROWLEY and CROWLEY PROPERTIES         )
11                                          )                COMPLAINT FOR LIBEL
                                            )
12                     Plaintiffs,          )
                                            )
13   vs.                                    )
                                            )
14   TANYA DANIELLE FAISON and BLACK        )
     LIVES MATTER SACRAMENTO,               )
15                                          )
                       Defendants.          )
16   ______________________________________ )                JURY TRIAL DEMANDED

17

18   Plaintiffs allege:

19                                                    I.

20                                   JURISDICTIONAL STATEMENT

21   1.      Plaintiff Karra Crowley is an individual and is now, and at all times mentioned in this

22           complaint was, a resident of Rockport, Texas.

23   2.      Plaintiff Christopher Crowley is an individual and is now, and at all times mentioned in

24           this complaint was, a resident of Rockport, Texas. Mr. Crowley and Ms. Crowley are

25           husband and wife.

26   3.      Plaintiff Crowley Properties is a general partnership; Mr. Crowley and Ms. Crowley are

27           the general partners.

28   4.      Defendant Tanya Danielle Faison is now, and at all times mentioned in this complaint

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 1         was, a resident of Sacramento, California.

 2   5.    Defendant Black Lives Matter Sacramento (“BLM Sacramento”) is now, and at all times

 3         mentioned in this complaint was, a corporation organized and incorporated in

 4         Sacramento, California. Ms. Faison is the incorporator and chief executive officer of

 5         BLM Sacramento.

 6   6.    This court has original jurisdiction under 28 USC § 1332, in that it is a civil action

 7         between citizens of different states in which the matter in controversy exceeds, exclusive

 8         of costs and interest, seventy-five thousand dollars. Here, all Defendants are citizens of

 9         California, and all Plaintiffs are citizens of Texas. Plaintiffs allege damages in excess of

10         $75,000, not counting interest and costs of court.

11                                                   II.

12                                                VENUE

13   7.    28 U.S.C. § 1391(b) provides venue in “a judicial district in which any defendant resides,

14         if all defendants are residents of the State in which the district is located.”

15   8.    All Defendants reside in Sacramento, California.

16                                                   III.

17                                    GENERAL ALLEGATIONS

18   9.    Plaintiffs reallege and incorporate herein by reference the allegations of Paragraphs 1

19         through 8.

20   10.   On or about April 26, 2021, Defendants posted on the BLM Sacramento Facebook page

21         (https://www.facebook.com/BlackLivesMatterSac) the following email Defendants

22         stated was from Plaintiff Karra Crowley:

23         To whom it may concern,

24         I am sick and tired of hearing about you guys on the news. You guys are nothing
           but a bunch of domestic terrorists. Crying because you can’t have your way about
25         something. Why don’t you just give up, your never going to be able to change the
           world. EVER!!!! GROW THE FUCK UP. White lives matter !!!!
26
           Karra Crowley.
27
           Crowley Properties
28

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 1   11.   Also on or about April 26, 2021, Defendants posted on the BLM Sacramento Facebook

 2         page the following email Defendants stated was from Plaintiff Karra Crowley:

 3         My husband and I are pillars in this community. We have always taught our
           children to fear African Americans!!!! You are nothing but thugs and low life’s.
 4         Seriously why don’t you guys just stop with the bullshit, your never going to
           change the world, so give up. White people are kings!!!! You are peasants!!!!
 5

 6   12.   Also on or about April 26, 2011, Defendants posted on the BLM Sacramento Facebook

 7         page the following email, which Defendants stated was from Plaintiff Karra Crowley:

 8         “Let’s bring slavery back!!!!”

 9   13.   Then, Defendants wrote the following and posted it next to the above purported emails on

10         the BLM Sacramento Facebook page:

11         So this woman Karra Crowley has been emailing us and we figured she needs to
           be famous. She actually owns a business called Crowley Properties in Roseville
12         but she lives in Loomis.

13   14.   Defendants also posted on about the same date the following on the BLM Sacramento

14         Facebook page:

15
           HER [Karra Crowley] INFORMATION HAS BEEN VERIFIED. I AM NOT
16         GOING TO BE RESPONSIBLE FOR SHARING ADDRESSES
           AND PHONE NUMBERS BUT FOLKS . . . ESPECIALLY YOU
17         LIGHTER HUED FOLKS COMING AND BEING
           DISRESPECTFUL . . . YOU NEED TO GET YOUR DUCKS IN A
18         ROW BEFORE YOU COME HERE MAKING ACCUSATIONS

19         WE KNOW HER BUSINESS ADDRESS
           WE KNOW HER PO BOX
20         WE KNOW HER AND HER HUSBANDS HOME ADD
           SHE HAS BEEN VERIFIED
21
           ROSEVILLE AND LOOMIS
22
     15.   The above Facebook posts (which will be referred to herein as “Defendants’ Facebook
23
           posts”) referred to Karra Crowley and Crowley Properties by name and to Mr. Crowley as
24
           Ms. Crowley’s husband.
25
     16.   Plaintiffs, and neither of them, wrote or sent the emails posted by Defendants.
26
           Defendants statements that Karra Crowley sent the above emails to Defendants were
27
           false.
28

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 1   17.   Defendants’ Facebook posts are libelous on their face. These posts expose Plaintiffs to

 2         hatred, contempt, ridicule and obloquy because they portray Plaintiffs as racists and

 3         ignorant. Defendants’ Facebook posts encouraged others to find personal information on

 4         Plaintiffs and post it – which they did. Shortly thereafter, Plaintiffs’ personal information

 5         was posted to the BLM Facebook page.

 6   18.   Defendants’ Facebook posts were seen and read on or about April 26, 2021 and everyday

 7         after that by many people. Defendants’ Facebook page states that 71,739 people follow

 8         it. As of April 28, 2021, Defendants’ Facebook posts had 284 “Reactions,” 120

 9         “Comments,” and 183 “Shares.” In fact, Fox40 News contacted Ms. Crowley about

10         Defendants’ Facebook posts, and Ms. Crowley felt compelled to do an interview to try to

11         mitigate the damage.

12   19.   Almost immediately after Defendants’ Facebook posts, Plaintiffs received hateful

13         telephone calls on their cell phones and home phone; the callers said vulgar and

14         threatening things and called Defendants racist. Many people posted comments regarding

15         Defendants’ Facebook posts disparaging Plaintiffs.

16   20.   On April 27, 2021, Ms. Crowley responded to Defendants’ Facebook post by posting a

17         comment explaining that she did not send the emails; that the emails show an email

18         address that is not hers; and that she does not hold any of the views set forth in the emails

19         purported to be from her.

20   21.   On April 28, 2021, Ms. Crowley emailed Defendant Faison stating that the purported

21         emails Defendants posted on the BLM Sacramento Facebook page were not from Ms.

22         Crowley, and Ms. Crowley requested Defendants to remove Defendants’ posts.

23         Defendants refused and Defendants’ Facebook page still contains the posts.

24   22.   Defendants did not use reasonable care to determine whether Plaintiffs, or either of them,

25         were the authors or senders of the purported emails from Ms. Crowley, which Defendants

26         attributed to Plaintiffs nonetheless. Selleck v. Globe Int'l, Inc., 166 Cal.App.3d 1123,

27         1132 (1985) (“Falsely ascribing statements to a person which would have the same

28         damaging effect as a defamatory statement about him is libel.”)

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 1   23.     As a proximate result of the above-described publication, plaintiffs have suffered loss of

 2           their reputation, shame, mortification, and injury to their feelings, as well as very serious

 3           con all to their damage in an amount in excess of $75,000, according to proof.

 4   24.     The aforementioned conduct of the Defendants was oppressive and malicious, thereby

 5           depriving the Plaintiffs of property or legal rights or otherwise causing injury, and was

 6           despicable conduct that subjected the Plaintiffs to a cruel and unjust hardship in

 7           conscious disregard of the Plaintiffs’ rights, so as to justify an award of exemplary and

 8           punitive damages.

 9           WHEREFORE, plaintiff requests judgment against defendant as follows:

10           1.      For an order compelling Defendants to immediately remove all publications

11                   (including posts and shares) from BLM Sacramento’s Facebook page and

12                   anywhere else they appear; Defendants’ written acknowledgment published on

13                   Facebook and in California and Texas media publications, stating a) the

14                   Defendants did not use reasonable care to determine whether the subject emails

15                   were actually sent by Plaintiffs, or any of them, b) that the emails were not sent by

16                   Plaintiffs, and c) apologizing for wrongfully defaming Plaintiffs.

17           2.      For compensatory and general damages in excess of $75,000 according to proof;

18           3.      For punitive damages;

19           4.      For costs of suit incurred herein; and

20           5.      For such other and further relief as the court deems proper.

21                                                    IV.

22                                            JURY DEMAND

23   Plaintiffs request trial by jury.

24

25   Dated: April 30, 2021                          OCHRACH LAW GROUP
26
                                                         /s/ Jeffrey H. Ochrach
27                                                  Jeffrey H. Ochrach
                                                    Attorney for Plaintiffs
28

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